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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TEXAS
SHERMAN DIVISION

SECURITIES AND EXCHANGE COMMISSION,
Plaintiff, CIVIL ACTION NO.
4:13-CV-416 (RC) (ALM)

-- against —

TRENDON T. SHAVERS AND BITCOIN
SAVINGS AND TRUST,

Defendants.

REPLY DECLARATION OF PHILIP MOUSTAKIS
IN SUPPORT OF PLAINTIFF’S MOTION FOR AN ORDER TO SHOW CAUSE,
RULE 37 SANCTIONS, AND OTHER RELIEF

I, Philip Moustakis, pursuant to 28 U.S.C. § 1746, declare as follows:

1. I am over eighteen years of age and am employed by the Securities and Exchange
Commission (“Commission”) as an attorney in the Division of Enforcement in the Commission’s
New York Regional Office. I submit this declaration in support of the Commission’s Motion for

an Order to Show Cause, Rule 37 Sanctions, and other Relief.

2. Attached hereto are true and correct copies of the following:

Document Ex.
11/7/2013 letter from Commission ine to Trendon T. Shavers (“Shavers”) A
2/26/2014 letter from Gace counsel to Shavers i B
830/201 3 email correspondence between Commission coma! and Shavers C
10/9/2013 Rule 26 Initial Disclosures by Commission to Shavers and cover email | D b+
5/23/2014 are from Shavers to Commission counsel; 5/27/2014 cre from E
Commission counsel to Shavers
613/2014 eceannae from www.secvshavers.com ca F

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Pursuant to 28 U.S.C. § 1746, I, Philip Moustakis, declare under penalty of perjury that

the foregoing is true and correct.

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New York, Red York (tebey [om

Philip Moustakis

Executed on:

